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weighed 106 and my current girlfriend weighs 105. Nancy

weighed well over---

QO. I’ve never seen Nancy so.
ELLIS: Go with it, man.
FUQUA: So you like them small and thin?
WALTERS: And pretty.

WREN: Strike all that from the record.

ELLIS: I feel like this may get read back.

FRAZIER: I just might need a laugh one day,

chief but no, we’re fine.
Q. So that’s no?

A. Absolutely, not.

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Q. Okay. You mentioned depositions, how many depositions have

you given in the last two years?

A. Two years it had been very few ah---

Q. Okay, three years?

A. ah, Brad Williams---

QO. Brad Williams.

A. ah, you, was it you with ah, his dad, Doss---

Q. I don’t believe we did depositions?

A. I thought we did, okay. Brad Williams, I guess that’s

about the only one since I’ve been at Alexander.
Q. Okay, so just Brad Williams?
A. Yes.

QO. And what is that lawsuit about?

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A. He got a check, he received a check from the city. He said
he lost it about ten months later he cashed the check that he
said he has lost and at that time I was still investigating the
theft from the City of Alexander---
Q. Okay.
A. and I got an arrest warrant for him signed by the
prosecutor from Pulaski County. Paul Mitchell went to the
judge first of all to get the case dismissed and the judge
denied it. He then went to the prosecutor and said that I had
no right and that the city did not want to prosecutor Brad
Williams and he even said that the Counsel had stated that they
would not prosecute him and that’s, that’s the opinion and I
can’t elaborate on it anymore.
Q. Feel free not to that’s explained more than I wanted so
it's a civil lawsuit about, and you gave a deposition in that?
A. Yes.
QO. Okay. And you know who the ah, Brad’s attorney is, you
remember you might not remember?
A. Yes, Reggie Cots ah, Coach, ah, Coke.
Q. Okay. And is Brad the person who trained ah, Blankenship
and Watson?
A. He was an instructor, yes, uh-huh.
QO. Okay. And do then you said there wasn’t lawsuit with
Patrick Thomas, Thompson?
A. No, no.
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Q. Okay. And then I’m pretty sure that I asked this but it
was your decision to hire Blankenship and Watson, correct?
A. That’s my decision, yes ma’am I made the hiring.
Q. Okay. You mention for one other officer, Patrick that
Chief Mitchell pressured you to hire Patrick?
A. No, Mayor Mitchell.
Q. Mayor Mitchell?
A. Yeah, insisted that I hire Patrick.
Q. Yeah, okay. Did anyone insist that you hire Watson or
Blankenship?
A. No, ma’am.
Q. Did anyone recommend that you hire them?
A. No, ma’‘am.
Q. Okay. And then at the time that Watson and, the time of
the incident, how many certified law enforcement officers did
you have?
A. I think it was four.
Q. And who were they again?
A. Brad Williams, Fenton and Eric Staton and he went to work
for the sheriff, Pulaski County sheriff, I gave you the names
before.
QO. Okay. And I will go over them a few at a time you don’t
have to remember again. And then one more time Derrick
Jackson, weren’t we talking about him? Was there some incident
or something that happened with Derrick Jackson?
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A. Not that I’m aware of---

ELLIS: I’m sorry.
Q. Before you hired him?
A. I didn’t find anything in his background.
Q. Okay. And you didn’t find anything in Calvin Reeds
background?
A. No, ma’am.
Q. Did he resign or was he fired by Saline County?
A. He who?
Q. Calvin Reed?
A. No, he resigned with good recommendation from his shift
supervisor.

FRAZIER: I think I’m just about done; give me a
few minutes. Let me look at my stuff; maybe someone else has a
question.

ELLIS: You want us to go ahead while you’re
looking?

FRAZIER: Yes, please.

ELLIS: I’ve got a couple of real quick, little
housekeeping matters.

CROSS-EXAMINATION
Questions by Mr. Ellis:
Q. Chief I’m George Ellis, I represent Mr. Babbitt in this
case. You were talking about a stick of wood that you found
out there when you went out the next day.
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A. Yes.
Q. And you told us several times it was ten or fifteen feet
from the bar-be-que grill---
A. Yes, sir.
Q. Is that correct?
A. Yes, sir.
Q. Okay. Now did you misspeak the first time you brought it
up when you said it was ten to fifteen yards?
A. Okay, I did not intend to say yards.
Q. I didn’t think you did.
A. Okay.
Q. Because after that you kept saying ten to fifteen feet.
A. Yes, no I shouldn’t have, I'm sorry if I said yards.
Q. Okay, good we’ve cleared that up. Now just so we can kind
of complete record regarding your background here, the record
that Ms. Cobb is going to prepare for us, let me ask you about
your employment background. Ah, prior to becoming the chief at
Alexander what did you do in law enforcement?
A. I started out with the Little Rock Police Department May
22, 1972 and I rose through the rank to captain.
Q. Uh-huh.
A. And I was the acting assistant chief of police when I left.
QO. Little Rock?
A. Little Rock, I’m sorry.
Q. And did you come to Alexander directly from Little Rock?
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A. No, sir, I went to work for Arkansas Tobacco Control Board
for four years.
Q How long?
A Four years.
Q. Okay. And then to Alexander?
A Yes, sir.
0 All right. Now what divisions or departments did you work
in at Little Rock?
A. After I graduated from the FBI academy I was put in charge
of the administrative part of the police department.
Q. Uh-huh.
A. I started out as an investi--I was a speed officer first
then I was promoted to---
Q. Would that be what we would call the patrol division?
A. Patrol division yes, sir. I was promoted to detective ah,
I was a burglary detective then I was transferred to the
homicide detective then I transferred from there to
intelligence---
QO. Okay.
A. and then I was promoted to sergeant.
Q. All right.
A. And then I became field sergeant patrol sergeant, patrol
sergeant; I was a patrol sergeant for three years then I was
promoted to lieutenant within the next--I was a patrol sergeant
for two years then I made lieutenant. I was a lieutenant for
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Q.

A.

job

A.

Q.

A.

Q.

A.

Q.

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four years and then I made captain.

And during your tenure at Little Rock were you ever in

charge of or did you participate in internal investigations of

officers who were alleged of wrongdoing?

Yes, sir, that's part of the lieutenant and the captain's
duties.

Okay. How many, how many internal investigations would you
you either led or were involved in? Would you guess?
I'd say thirty maybe.

Thirty maybe?

Yes.

Just as a lieutenant or captain?

Yes, sir

And how long were you a lieutenant and captain?

I was a lieutenant for four years and I was a captain for

For ten years?
Yes, sir.

Now let me ask you and I'll quit about your educational

background. What is your educational background?

Ah, Business Administration and then of course I'ma

graduate at the F.B.I. National Academy---

Back up Business Administration, where is that?
Ah, at the uni--ah, a Philander Smith College.

Okay. Did you graduate from Philander?

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A. Yes, sir.

Q. Okay, in Business Administration?

A. Business Administration.

Q. Keep going.

A. Ah, then ah, I attended the F.B.I. National Academy and ah,
I attended ah, numerous ah, at the University of Kansas, I'm
sorry the University of, right outside of Washington D.C.,
Virginia---

Q. Uh-huh.

A. I have an Associates Degree even from then at the time I
was at the academy and then I took more courses after I left.
Q. Uh-huh. What are some of the courses you studied, you
took?

A. Criminal Law, DNA, ah, Police Pursuits, Police Lawsuits,
ah, I was up there for four months so it entails every facet of
law enforcement.

Q. Are you talking about the F.B.I. Academy?

A Yes, sir.

Q. Okay, and what year did you attend and graduate?

A

Ah, 1988 I graduated number eight out of a class of 700.

ELLIS: Thank you. Pass the witness.
FRAZIER: I just have one or two.
REDIRECT EXAMINATION
Questions by Mrs. Frazier:

Q. For the Alexander City Police Department ah, who was in

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charge of investigating any allegations of officer misconduct?
A. That's me.

Q. Who would be in charge of disciplining any officers?

A. That’s me.

Q. Then I, ah, yesterday in Jeffrey Watson's file there was a
request from Marcie Manley who is a reporter from KARK and she
was asking for all of the ah, police employment records from
about May the ah, I don't know December, 2011. Do you know why
this reporter was asking for all these records?

A. I can tell you why she asked me.

Q. Okay.

A. She said Paul Mitchell and two other people from Alexander
had made the comment that ah, these officers weren't certified.
IT brought Channel 4 to my office and took the files out and let
them read everything that in the file from Arkansas Minimum
Standards to show that they were incorrect but that was not put
back on the news.

Q. Okay. So at which point were all the officers, let me make
sure I'm using the right word, not certified but met standards,
is that right?

A. Yes.

Q. Was there every a time when the officers hadn’t met

standards?

A. No, ma’am. Our officers have always got extraordinary,

good reviews, from, from Arkansas Minimum Standards. I have

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never had an officer that did not get certified once they went
through the academy.
Q. Well I'm talking about before they went through the
academy? For like part-time just because there’s a year,
right?
A. A year---
Q. They have to meet minimum standards with hire?
A. Within a year yes, yes, ma’am.
Q. I thought they could be certified within a year?
A. That is correct yes, ma’am. They have to go to the academy
within one year of their employment or if there’s an existing
circumstance where these officers cannot get to the academy you
can apply to the Director of Standards to Arkansas Minimum
Standards to get an extension. They can only extend it for six
months I did have to do that for one police officer.
QO. Who's that?
A. That was ah, Calvin Reed because they didn’t have a vacancy
but we were able to get him in under the deadline anyway
without the six months.
Q. Okay. So I guess what was she accusing, well not accusing,
what was she investigating that y’all hadn’t met standards?
A. No, she was saying that they hadn’t even met, didn’t even
have a file on them and that they wanted officers.
0. Okay. So what do you need to have to be an officer?
A. You have to go through the Arkansas Standards again, you
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have to, it takes---

QO. What do you have to go through, I’m sorry, when in between
the time I guess there’s a minimum of something to be hired?
What is that called?
A. Ah, no felony convictions ah, no moral interperude, things
of this nature and must be able to pass a physical and a
psychological evaluation, that has to be done before they are
hired.
QO. So that’s not called minimum standards?
A. Minimum standards has to have that in, in their office
before they are hired.
Q. Okay. Just for example theirs some standards that an
officer has to meet like if you wanted to be a part-time two
officer while you’re waiting for your one year service,
sorrect?
A. Could you rephrase you question that’s confusing?
Q. Why not, why don’t you help me and just save us ten minutes
you can be out ten minutes earlier?
A. Okay. Let me try, okay I think, any officer whether he’s
part-time one or part-time two, they have to have a complete
file with everything in order to go to standards before they
can be officers part-time, full time officers.
QO. Okay. Did you have any people serving in the law
enforcement capacity that had not had a complete file?
A. Oh, no, no ma'am that’s a no, I wouldn’t even allow that.
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ELLIS: The thing that makes it--off the
record--the thing that makes it confusing is that standards is
an agency---

FRAZIER: Okay.

ELLIS: It’s like justice for state.

FRAZIER: Okay.

ELLIS: It’s, it’s shorthand and all law
enforcement officers talk that way.

Q. Is there a phrase for minimums standards just for hiring?

ELLIS: You have to answer.

A. Yes, it is; yes.

0. What’s that called?

A. Minimum standards.

Q. All right, I’m just making sure we’re talking the same
thing.

ELLIS: We’re all talking the same thing and you
just don’t realize it.
Q. Okay. And so in order to be hired you have to have an
complete file?
A. Yes, ma’am.
Q. And that was always done?
A. Under my administration, yes.
Q. And no one had ever been on the streets or served without
having that done?

A. That is correct.

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Q. Okay.
A. And if they didn’t Arkansas Standards for Minimum Policing
would not allow me to let them go on to the streets.
QO. Okay. That maybe all I have---
ELLIS: We need Robert Newcomb.
FRAZIER: Only if he wears a Santa Claus suit.
ELLIS: That was off record.
REPORTER: Did you say you pass?
FRAZIER: Ah, I think I’m done.
FUQUA: I don’t have any questions.
WREN: No, questions.
[The deposition ended at 1:33 p.m., on October

10, 2013.]

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Alexander Police Department ~ Be Rf 2 Policy: 001
‘Effective: 06-01-10
Date of Origin: 06-01-10

BIASED LAW ENFORCEMENT PRACTICES

PURPOSE A. Members of the Alexander Police Department shall not violate an individual’s

constitutional rights, regardless of race, color, creed, ethnicity, gender, age, sexual orientation,

disability, religion, or any other belief system. This policy serves to:

i. Reaffirm the Alexander Police Departments’ commitment to unbiased law enforcement
practices.

2. Further clarify the circumstances in which officers may consider race or ethnicity when
making enforcement decisions.

3. Reinforce procedures that assure the public that this agency is providing service and enforcing
jen in an equitable and lawful fashion.

POLICY:

Employees of the Alexander Police Depa shall not violate citizens’ equal protection rights.

Toward this ead, employees are prohibited from engaging in racial/bias profiling in any aspect of

law-enforcement activity as defined by this policy. It shall be the policy of the Alexander Police

Department that officer’s base sedate or motor vehicle stops, detentions, investigative

activities, searches, property seizures, or arrests of a person upon a standard of reasonable

suspicion or probable cause in compliance with the U.S. Constitution and Arkansas Constitution.

Law enforcement officers of this agency shall be prohibited from utilizing "as color, creed,

ethnicity, gender, age, sexual orientation, disability, religion, or any other belief system as the

sole factors in making law enforcement decisions, except to determine whether a person matches

the description of a particular suspect. Members of the Alexander Police Department, whether

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sworn, civilian, or volunteer, shall treat every person with courtesy and respect when interacting
with the public and will conduct all law enforcement duties and civilian responsibilities in a

professional manner.

DEFINITIONS:
A. “Probable Cause” means that a set of facts or circumstances based on reliable information

or personal knowledge or observation by an officer, which reasonable shows and would
warrant an ondinary prudent person in believing that a particular person has committed, is
threatening, or is about to commit some criminal violation of the law. This definition is
subject to applications and precisions made by the federal and state courts interpreting
applicable law. . .

B. “Reasonable suspicion” means suspicion based on facts or circumstances which of
thernselves do not give rise to the probable cause requisite to justify a lawful arrest, but
which give rise to more than a bare suspicion; that is, a suspicion that is reasonable as
opposed to an imaginary or purely conjectural suspicion. This definition is subject to
applications and precisions made by the federal and state courts interpreting applicable law.

C. “Reasonable cause to believe” means a basis for belief in the existence of the facts that, in
view of the circumstances under and purposed for which the standard is applied, is
substantial, objective, and sufficient to satisfy applicable constitutional requirements. This
definition is subject to applications and precisions made by the federal and state courts
interpreting applicable law.

D, “Reasonable belie?’ means a belief based on reasonable cause io believe. This definition is

subject io applications and precisions made by the federal and state courts interpreting

applicable law.

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E. “Racial profiling” means the practice of a law enforcement officer relying, to any degree, on
race, ethnicity, national origin or religion in selecting which individuals to subject to routine
investigatory activities, or in deciding upon the scope and substance of law enforcement
activity following the initial routine investigatory activity, except that racial profiling does
not include reliance on the criteria in combination with other identifying factors when the law
enforcement officer is seeking to apprehend a specific suspect whose race, ethnicity, or
national origin is part of the description of the suspect, and the description is thought to be
reliable and locally relevant. This definition is subject to applications and precisions made
by the federal and state courts interpreting applicable law.

PROCEDURES:
A. Training: All training shall be in compliance with Ark. Code Ann. 12-12-1404 and this

policy and shall include:

1. Training of all current and future agency employees as to this policy and the prohibition

against racial/biased profiling.

2. Annual.ineservice training stressing the understanding and respect for racial, ethnic,
national, religious and cultural differences and development of effective and appropriate
methods of carrying out law enforcement duties;

3. A review of the agencies, operating procedures that implement the prohibition against
racial profiling and the affirmation by agency employees that they have copies of,
understand, and are following the policy, and .

4, Ifnecessary and possible, foreign language instruction to endure adequate

communication with residents of a community.
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B.. Field Officer Responsibilities

1. Officers shall base all pedestrian and sete vehicle stops, detentions, investigative
activities, or arrest on a Standard of reasonable suspicion or probable cause and in doing
so shall not violate this policy.

2. Upon initial contact, and when feasible and reasonable to do so, each law enforcement
officer shall provide his or her full name, written identification, jurisdiction, and the
reason for the pedestrian or motor vehicle stop to the accused. If asked for a serial or
badge sity by the pedestrian or driver of a motor vehicle, officers shall oblige by
providing their identification number when feasible and reasonable to do so.

3. Inan effort to minimize conflict during interactions with accused violators when stopping
and or detaining persons, it is recommended that officers attempt, where feasible and
reasonable to:

a) Extend a customary greeting to each person such as: Good morning, afternoon, or
evening.

b) Identify themselves by name. For instance: ] am Officer Jim White of the Alexander
Police Department.

c) Explain the reason for the stop or detention: J stopped you because............

d) Listen politely and give the accused ample opportunity to tell their story and explain
their behavior.

e) Politely ask for identification and any required documents. May I please see your

driver’s license, registration, and proof of motor vehicle insurance?
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f) Complete paperwork and advise the driver or pedestrian as to what action is being

taken and what, if anything, the person must do as a result; such as appear in court,
etc.

g) Extend a departing pleasantry such as: Please drive safely or thank you for your
cooperation.

h) if necessary, assist the driver in safely merging back into traffic,

i) Remain courteous and project a professional demeanor during the interview,
questioning or contact.

j) Officers shall refrain from participating in or encouraging any actions Or statements

that could be reasonable perceived as racial/bias-related profiling, including but not

limited to racial slurs or derogatory references about a minority group.

k) Officers shall report any acts of racial/bias-related profiling to their immediate
supervisor as is specifically defined herein.

4, When stopping a pedestrian or a driver of a vehicle for an alleged violation, officers shall
take into account circumstances associated with each individual aud shall use discretion
in determining whether to issve a verbal warning, a misdemeanor summons or a traffic
citation.

C. Citizen Complaints of Biased Law Enforcement Practices

1. When accused of biased law enforcement practices, the officer shall immediately contact
the Shift Supervisor. When practical to do so, the supervisor shall report to the scene to

mediate the situation.

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2. The officer shall provide complainant(s) with the full name snd telenlians number of his
or her rnc supervisor, and the contact name and telephone number of the Office of
the Chief of Police.

3. The officer shal] complete a written report detailing the incident, the allegation(s) made,
the purpose for the pedestrian or motor vehicle stop, detention, investigative activity or
arrest, and submit the report to the Shift Supervisor by the end of shift:

4, Along with the written report, the officer shall submit the Mobile Video/Audio Recording
(MVR) tape containing the encounter in question, if applicable, to the Shift Supervisor.

5. All allegations of biased law enforcement practices shall be investigated by the
department in a like and consistent manner.

D. Supervisor Responsibilities

1, Each Supervisor is responsible for ensuring that all personnel under their command fally
understand the content of this policy and are operating in compliance with the procedures
therein,

2, The Shift Supervisor shall be responsible for making contact with any known complainant
alleging biased law enforcement practices by his or her officers either on scene or by
telephone and document using departmentally approved forms. It is preferred that the
Supervisor meet face to face with a complainant. —

a) Jf the complaint is not resolved, the Shift Supervisor shall provide the complainant a
Citizen Complaint Form and collect the MVR tape if applicable
b} The Shift Supervisor shall further provide guidance to the complainant, as needed, in

completing and filing the complaint as well as explain the department’s policy and in

particular the investigative process.
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3, The Shift Supervisor is responsible to see that all department reports and MYR tape(s}
associated with a complaint alleging biased law enforcement practices is forwarded to the
Office of the Chief of Police through the supervisor’s Chain of Citceand by the end of

the sbift.

E. The Use of Mobile Video/Audio Recording (MVR) Equipment
1. The use of Mobile Video/Audio Recording (MVR) equipment will be in accordance with
Policy of the Alexander Police Department Policy and Procedure Manual.

F. Review-and Reporting Requirements

I. The Office of the Chief of Police shall implement a systematic review process to generate

quarterly analysis of the statistical information collected form the Citizen Complaint
For.

2. These analyses shall identify allegations specific to biased law enforcement practices.

3. Ifa pattern is identified, the Chief of Police or his or her designee shall be responsible for
conducting an investigation to determine whether officers have: Violated fie provisions of |
this policy and/or other department policies. " ’

4, Officers found to have engaged in biased law enforcement practices shall receive

counseling, remediation, comective training, and/or discipline up to and including

termination in a timely manner.
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G. Retaliation

1. No member of the Alexander Police Department, regardless of rank or stature, shall
retaliate against officers, civilians, or volunteer employees for reporting incidents of

biased law enforcement practices.

2. Actions or behaviors found to constitute retaliation shall be immediately disciplined up to

and including termination.

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Documentation and Record Keeping

(A) Any officer who stops a motor vehicle for an alleged violation of a law or
Ordinance regulating traffic or who stops a pedestrian for any suspected offense shall
document the stop with the following information, which shall be included in addition to
any other information documented by the officer:

1. A physical description of each person detained as a result of the
including:

(a) the person’s gender; and
(b) the person’s race or ethnicity.

2 The traffic law or ordinance alleged to have been violated or the
suspected offense;

3; Whether the officer conducted a search as a result of the stop, and
if so, the basis for that search: consent of the person detained,
existence of probable cause, frisk for weapons, or other;

4. Whether any contraband was discovered in the course of the search
and the type of contraband discovered.

5, Whether the officer made an arrest as a result of the stop or the
search, including a statement of the offense charged;

6. The street address or approximate location of the stop;
as The date and time of the stop; and

8: Whether the officer issued a warning or a citation as a result of the
stop.

(B) Every year, no later than April 1, this law enforcement agency will
compile the above information relating to the race/ethnicity of individuals

stopped.

(C) The information will be reported in a format that may include, but is not
limited to, the reporting of the data in numerical and/or percentage categories of
ethnicity, stops, reasons for the stops, searches resulting from the stops,
disposition of the stops, and the duration of the stops.

(D) This Jaw enforcement agency shall also compile data on individual
officers to be used in evaluation and as an early warning system for possible

racial/bias profiling. -
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(E) The data and documentation collected pursuant to this general order shall
not constitute prima facie evidence of racial profiling or any other violation of
civil rights or of state or federal law.

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Communication te the Community of the Policy

(A) This Jaw enforcement agency shall be responsible for providing public
information relating to the agency’s efforts to comply with government mandates
on racial profiling. This will include public education relating to the agency’s
complaint process. Avenues for this information may be, but not limited to, any
of the following:

1: Pamphlets developed by the agency;

2. Public service announcements concerning this policy and
additional outreach efforts on local radio stations, television
stations and local newspapers;

3. Community meetings and public forums in which bias/racial
profiling is discussed, and

4, News/press releases,

(B) Where appropriate to meet the goals of this policy, communications of this
policy with the community shall be available in English and in Spanish.

Public Inspection

(A)  Acopy of this policy shall be kept at the City of Alexander Police
Department, office of Chief of Police for public inspection.

Legislative Audit Requirements

(A) _ To the extent that state law mandates local law enforcement agencies to

file reports with Legislative Audit, this order/policy shall be included in the
annual report that the department submits to the Division of Legislative Audit.

Application

(A) _ This order constitutes agency policy and is not intended to enlarge the
employee’s existing civil or criminal liability in any way. It shall not be
construed as the creation of an additional cause of action by either employee or

any third party.

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ALEXANDER POLICE DEPARTMENT PAGE 1of3

Horace Walters — Police Chief

15605 Alexander Rd

P.O, Box 610 Alexander, AR 72002

DEC. 13, 2010

On, Saturday, December 11, 2010, around 6:30 am, | was walking a white female
friend half way home. On my way back, | noticed one of Alexander police car
parked on Sharon Baptist Church parking lot talking to a person, who is now or
used to be with Alexander Fire Department. He drove a bluish gray Chevy truck.
The officer said, in a loud voice, “Come here son,” then the truck pulled away. |
felt that the officer could have addressed me in a more professional way. | went
to see what he wanted and he then told me he smelled alcohol on my breath and
how he can arrest me for public intoxication. | said, “If you smell anything on me,
it was from last night.” It was like his mind was already made up about me. | again
and again trying to explain to him that | am ok, just walking with a friend. The
more | try to explain to him the more Officer Eckmam’s conduct was unbecoming
as offices. He was irate, unprofessional, and a lack of respect. He put handcuffs on
me and took me to jail. While down at the jail, Officer Reed was using excessive
and unnecessary force; pushing, pulling, shoving and using unnecessary body
weight on me, while in hand cuffs. He was treating me like | had done what the
officer Eckman said | did. | ask, “What was my charge?” The officers or jailers told
me | had a terroristic threatening charge, public intoxication, and disorderly
conduct. While in jail, | notice that my friend | was walking with was arrested too.
| ask her what she’s doing here, she said “for public intoxication”. And she was
released that same day. While there in jail, | requested my free phone call around
7:00 am and was denied until 11:30 pm. | was even denied breakfast and didn’t
eat lunch until around 2:30 pm Saturday. | feel that who | talk to regardless of
race or sex is not Office Dennis Eckman’s business. @ PLAINTIFE'S DEPOSITION

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Officer Eckman claimed | was under the influence of some intoxicating substance,
but that’s not why | was arrested. | was arrested because |! was with a white girl.
Because while at Saline county jail, | receive no breathalyzer, urine test, blood
test or any other test to support his charges against me. Now it’s very clear to
me the reason he called me to his car. | felt that it was unlawful to discriminate
based on race or color. Officer Dennis Eckman action based on my conduct with
him is un called for, he has no people skills and don’t know how to talk to people.
| was ill treated by Officer Reed because of unsupported charges brought against
me By Officer Denis Eckman from the City of Alexander. | felt threaten, and felt
that Dennis was going to cause me harm due to his uncontrolled demeanor. | am
sure that your Officers are not trained to talk down to people. | felt that | was
placed in harms way with unsupported reasons.

In closing, I’m a 30 year old citizen of Alexander. | was born here and my
parents moved here 38 years ago. They are strong pillars in this community, with
very high work ethics. My father has owned Royal Lawn & Construction Services
over 27 years. I, myself started with him since the age of 10 years old until now. |
help my family with rental properties. | support them in their restaurant
business. When my mom & dad had plenty enough help, | took a job at the Hess
Gas Station in Alexander for 2 years, here in the community. All of the Officers of
Alexander knows me, including Officer Eckman.

On Saturday, the morning of Dec.11 when | was asked by my friend to walk with
her, it was a normal day as always until | was ordered to come to Officer Eckman’s
car. I’m still trying to figure out how | broke the law. Maybe some think that |
was out of place by walking with a “white” friend of mine and if that’s the case,
I’m guilty. But 1 am innocent of Officer’s Eckman’s claims of me. The citizens of
Alexander and myself, thought with the old system of serving and protecting
certain people within the city had vanished. There are records that will confirm
the history of racial profiling amongst the Alexander Police Department.

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Past lawsuits and negative publicity to the city and the citizens should have
hindered any future injustices, only to find out there’s still remaining practices of
some harassment and discriminating of black citizen’s lurking behind the shadows

of our public services.

Thanks,

Christopher Dewayne Doss
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Another Lawsuit Filed Against City of Alexander, Saline County sno
Sheriff, Alexander Police

Story Comments E> Share

Tags:
alexander, lawsuit

Updated: 3/18 10:49 pm Published: 3/18 10:23 pm

Alexander, AR - The city of Alexander's troubles didn't end with a Treasurer
resigning Monday. A lawsuit filed against the City of Alexander and several law
enforcement agencies cites an incident happening in 2011.

2 Their primary complaint is the use of excessive force on ane man in his own front
yard,

The family's spokesperson, Rizelle Aaron, says they claim the actions taken by a
few law enforcement officers in the Saline County Sheriff's Office and Alexander
Police Department were unnecessary and excessive. Ultimately he says, the
family just wants their day in court and justice to be served.

"So that thé city and the people of Alexander understand that what was done to

; ‘ him should not have been done and that it shouldn't happen to other people," said
‘Family Files Lawsuit Against City of Alexander Aaron.

Aaron is the spokesperson for Christopher Doss and says this lawsuit stems from
an incident when Doss was arrested in Alexander in his own yard.

After police responded to a domestic dispute at his home they say the officers came back, tazed him once and then again a couple of times after
he was on the ground.

Doss was charged with resisting arrest, public intoxication and terroristic threatening but the prosecutor has not moved forward with the charges.

The city and police department say they take these allegations with a grain of salt. In fact, Chief Horace Walters goes as far to say he will fight
this lawsuit and deny the accusations to the end.

"We will meet with our attorney's to combat everything that they've said to prove that it's not true and factual," Chief Walters remarked. “Again,
this is the same family that has made these same allegations time after time after time."

The city had plans to address another lawsuit from this family at Monday's council meeting however they did not meet quorum.
Mayor Hobbs wouldn't directly comment on the lawsuit but did say they plan on consulting with the Municipal League on moving forward and will

address this in a future city council meeting.
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Alexander Police Department

I, Ofc. Blankenship, backed up Ofc. Watson on an escort on 2™ st. Ofc. Watson was
escorting a female to the residence to pick up her children from there.

Upon arrival of myself, Ofc. Watson was being verbally hollered at by Mr. Chris
Doss. Mr. Doss was standing very close to Ofc. Watson, within 24 inches. Ofc. Watson
was not hollering back at Mr. Doss, but was trying to explain that he was there at the
request of the female subject.

I tried to get Mr. Doss to talk to me by calling him by name, adking different
questions as to who mowed his yard, how often he did it, and tried to get him to talk in a
more normal manner. Mr. Doss continued to shout at and holler at Ofc. Watson all the
way to Ofc. Watsons patrol vehicle. Ofc. Watson did not say anything to Mr. Doss once I
started trying to calm him down.

The comments that Mr, Doss were making to Ofc. Watson were, “He wasn’t a real
Police Officer, that he knew where he lived, and for him to get off his property and to get
off his street.”

When Ofc, Watson got in his vehicle and left, I was thanked by Mr. Doss, who said he
didn’t have any problem with me, just with Ofc. Watson.

When we had cleared from the scene, we met with two Saline Co. Deputy’ s at Third
& AC Wallace. They talked with Ofc. Watson, and at the end of the conversation, we all
went back to Mr. Doss’s residence.

I was the last on to get there, before I got around the trailer to see everything, I heard
some shouting, and then I heard the sound of the taser being fired.

When I got close enough to see, Ofc. Watson had Mr. Doss on the ground. While one
of the Deputy’s had his taser deployed on Mr. Doss.

Mr. Doss continued to put up some resistance and tried to delay being put in the back
of Ofc. Watsons vehicle.

Ofc. Watson then transported Mr. Doss to the Saline County Detention Center.

Ofc. William Blankenship, 206

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“DETAILS OF INFORMATION
Include points of entry, tools used, objects of attack where applicable

1 Officer Watson received a call to the above address for an escort of a female to get her kids from the above suspec

Once on scene the suspect started yelling at me and calling the girlfriend name and started threatening her and | Office

Watson with bodily harm. So | Officer Watson called for back up units to respond for back up because the suspect state:

that he had something for me a ran back in the house. The suspect had been drinking and was very disorderly. Saline
county deputy Arrived on scene and the suspect was still threatening me and the county deputy so the deputy order the
suspect to get on the ground the suspect refused at which time the deputy tazed the suspect in order to take him intc
custody. Once the suspect was in custody he was transported to the saline county jail. On the way to the jail the suspect
continued to make threatening statements which was all recorded on the inside camera.

itemized List of Property Involved

Quantity Brand, Model & Description of Item Serial or ID # Value Property Tag #
$
$
$ .
$
$
$
$
$
$
Total Value Property | Stolen Recovered
$ $

ADDITIONAL ORIGINAL INFORMATION INCLUDED ON SUPPLEMENT FORM
LIST TRAFFIC SUMMONS & TICKET NUMBERS / / / / /

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City of Alexander Police Department
15605 Alexander, Rd.

' Alexander, AR 72002
(501) 455-2585

Records Clerk,

IN RE: FOI Defendant Christopher Doss, Arrest on October 9, 2011
Reference: Alexander ticket # 394751 and Saline County Booking # 5219-11

I Rizeille Aaron, respectfully request ta review the following materials for the
purposes of duplication.

1. Accopy/ptintout of the complete dispatch logs for October 9, 2011 and — Sai iY sysiem
October, 10, 2011.
2, The audio of all 911 and emergency calls or other numbers received on
Sunday, October 9, 2011 from 12:00 am to 1:00 am.
5 The incident reports in reference to this incident byS Saline County Deputies
- and City of Alexander Police Officers. hed
The video of all dashboard camera oo ‘in reference to this incident. i

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5 The audio from body microphones
6. The “Use of Force Policy”. .-~
7 The officer’s use of force report in reference to this setter =. cans ate
8.  Theaudio and video from the taser camera used during this incident. SRL E Cot? *7
9 Ail jailhouse audio and video pertaining to the booking, detention and holding sALs 8 ©
of Mr, Doss in reference to this incident. TAH
10.  Alirecords pertaining to the arrest of Mr. Doss on October 9, 2011.L-—~
11, All agreements in reference to jurisdictional, transport and request ford .u'T Lave
assistance matters between the City of Alexander, Alexander Police
Department and the Pulaski County Sheriff's Office.
12, All agreements in refcrence to jurisdictional, transport and request for dow “T ave.
assistance matters between the City of Alexander, Alexander Police
Department and the Saline County Sheriffs Office. \ ge
19 Al aareaments in reference to jurisdictional, transport and request for. doe"
4) _ } ¢ _ | 3 tween the Saline County Sheriffs Office and the Pulaski

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REPORTER‘'S CERTIFICATE

STATE OF ARKANSAS )
) SS. XXX-XX-XXXX
COUNTY OF PULASKI)

I, Gloria Y. Cobb, A Certified Court Reporter
and Notary Public in and for the aforesaid County and state, do
hereby certify that the witness, HORACE WALTERS, was duly sworn
by me prior to the taking of testimony as to the truth of the
matters attested to and contained therein; that the testimony
of said witness was taken by me, a voice writer, and was
thereafter reduced to typewritten form by me or under my
direction and supervision; that the foregoing transcript is a
true and accurate record of the testimony given to the best of
my understanding and ability.

I FURTHER CERTIFY that I am neither counsel for,
related to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further, that I am not a
relative or employee of any attorney or counsel employed by the
parties hereto, nor financially interested, or otherwise, in
the outcome of this action; and that I have no contact with the
parties, attorneys, or persons with an interest in the action
that affects or has a substantial tendency to affect
impartiality, that requires me to relinquish control of an
original deposition transcript or copies of the transcript
before it is certified and delivered to the custodial attorney,
or that requires me to provide any service not available to all
parties to the act.

Sgloria Y, Cobh a “TS¥0336
Notary Public

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My Commission Expires:
January 16, 2017
My Commission #12358451

SUPREME

Phones: (501) 490-0066 -— Off; (501) 590-0975 - Cell
(501) 490-0926 — Facsimile
e-mail: gloria.cobb@comcast.net

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